        Case 4:10-cv-01946-RWS Document 103              Filed 11/16/10 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

HRB Tax Group, Inc., et al.,                )
                                            )
              Plaintiffs,                   )
                                            )      Case No. 10-cv-01946 (RWS)
vs.                                         )
                                            )
HSBC Bank USA, National Association,        )
et al.,                                     )
                                            )
              Defendants.                   )

      JOINT MOTION TO CONTINUE PRELIMINARY INJUNCTION HEARING

       Plaintiffs HRB Tax Group, Inc., H&R Block Tax Services LLC, H&R Block Enterprises

LLC, H&R Block Eastern Enterprises, Inc., and H&R Block, Inc., and Defendants HSBC

Taxpayer Financial Services Inc., Beneficial Franchise Company, Inc., HSBC Finance

Corporation, HSBC Bank USA, National Association, and HSBC Trust Company (Delaware),

N.A., jointly move to continue the Preliminary Injunction Hearing currently scheduled for

Wednesday, November 17, 2010 to Monday, November 29, 2010.

                                            Respectfully submitted,


                                            STINSON MORRISON HECKER LLP


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        Case 4:10-cv-01946-RWS Document 103   Filed 11/16/10 Page 2 of 3



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                                   ATTORNEYS FOR DEFENDANTS


SO ORDERED:


_______________________
United States District Judge




                                     2
       Case 4:10-cv-01946-RWS Document 103              Filed 11/16/10 Page 3 of 3



                              CERTIFICATE OF SERVICE

     On November 16, 2010, a copy of the foregoing document was filed using the Court’s
CM/ECF system, which provides service on all counsel of record who have registered for ECF.




                                                     s/John R. Munich
                                                  Attorney for Plaintiffs




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